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AO 245B (Rev. 11/16) Judgment in a Cnminal Case
Sheet 1

UNITED STATES DISTRICT COURT

District of Columbia

 

 

UNITED STATES OF AMERICA ) JUDGMENT IN A CRIMINAL CASE
Vv. )
BRIAN DENNIS HESS ' Case Number: 17-cr-002 (KBJ)

)  USMNumber: 7550-067 [FE LE D
)
) William Gregory Spencer SEP { 4 oni?
) Defendant’s Attorney

THE DEFENDANT: ier, U.S. District & Bankruptcy

WZ pleaded guilty to count(s) 1 of the Information filed on 1/5/17. ourts for the District of Columbia

[J pleaded nolo contendere to count(s)

which was accepted by the court.
(] was found guilty on count(s)
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18 USC § 2252(a)(2) Distribution of Child Pornography 1/4/2016 4
The defendant 1s sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

[1] The defendant has been found not guilty on count(s) es oe

LJ] Count(s) CL is (_] are dismissed on the motion of the United States.

__ Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes 1n economic circumstances.

September 7, 2017
Date of Imposition of Judgment

Signature 4f Judge (| — {

 

Ketanji B. Jackson, U.S. District Court Judge

Name and Title of Judge

afufia

 

 

Date
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AO 245B (Rev. 11/16) Judgment in Criminal Case
Sheet 2 Imprisonment

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DEFENDANT: BRIAN DENNIS HESS
CASE NUMBER: 17-cr-002 (KBJ)

IMPRISONMENT

The defendant 1s hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

Sixty (60) months on Count 1, with credit for time served since 4/7/2017.

¥1 The court makes the following recommendations to the Bureau of Prisons:

The Court recommends the Defendant be housed at a facility that has a non-residential sex offender treatment program and

that the Defendant be placed in such a program during the term of imprisonment. Recommendation that the Defendant be
housed at the FCI Elkton, OH facility.

M1 The defendant is remanded to the custody of the United States Marshal.

(C] The defendant shall surrender to the United States Marshal for this district:

Coat OO am O pm. on

 

[J as notified by the United States Marshal.

(] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
(] before 2 p.m. on
[J as notified by the United States Marshal.

(J as notified by the Probation or Pretrial Services Office.

 

 

RETURN
T have executed this judgment as follows:
Defendant delivered on _ to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By __

 

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev 11/16) Judgment in a Criminal Case
Sheet 3 - - Supervised Release
Judgment—Page a a a
DEFENDANT: BRIAN DENNIS HESS
CASE NUMBER: 17-cr-002 (KBJ)

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :

One Hundred and Twenty months (120) months on Count 1.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.
C] The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)
4. MM You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

5. i You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, ef seq.) as
directed by the probation officer. the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if apphcable)

6. (1 You must participate in an approved program for domestic violence. (check sf apphcable)

Nom

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev 11/16) Judgment in a Crnminal Case
Sheet 3A — Supervised Release

Judgment—Page __ 4 of /

DEFENDANT: BRIAN DENNIS HESS
CASE NUMBER: 17-cr-002 (KBJ)

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1, You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you te report to a different probation office or within a different time
frame.

After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and

when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying

the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72

hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at Icast 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

. Ifyou are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10, You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

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an

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: wwwuaiscoutts.2ov.

 

Defendant's Signature oo ee ae ; Date
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AO 245B(Rev. 11/16) Judgment in a Criminal Case
Sheet 3D — Supervised Release

Judgment Page Bb of 7 _

DEFENDANT: BRIAN DENNIS HESS
CASE NUMBER: 17-cr-002 (KBJ)

SPECIAL CONDITIONS OF SUPERVISION

Sex Offender Registration - You shall comply with the Sex Offender Registration requirements for convicted sex
offenders in any state or jurisdiction where you reside, are employed, carry on a vocation, or are a student.

Sex Offense Assessment - You must participate in a sex offense-specific assessment.

Sex Offense Treatment - You must participate in a sex offense-specific treatment program and follow the rules and
regulations of that program. The probation officer will supervise your participation in the program.

Sex Offense Testing [Polygraph] - You must submit to periodic polygraph testing at the discretion of the probation officer
as a means to ensure that you are in compliance with the requirements of your supervision or treatment program.

Contact Restriction - You must not have direct contact with any child you know or reasonably should know to be under the
age of 18, without the permission of the probation officer. If you do have any direct contact with any child you know or
reasonably should know to be under the age of 18, without the permission of the probation officer, you must report this
contact to the probation officer within 24 hours. Direct contact includes written communication, in-person communication,
or physical contact. Direct contact does not include incidental contact during ordinary daily activities in public places.

Search - Pursuant to the Adam Walsh Child Protection and Safety Act of 2006, you must submit your person, property,
house, residence, vehicle, papers, computers, other electronic communications or data storage devices or media, or office,
to a search conducted by a United States probation officer. Failure to submit to a search may be grounds for revocation of
release. You must warn any other occupants that the premises may be subject to searches pursuant to this condition. The
probation officer may conduct a search under this condition only when reasonable suspicion exists that you have violated a
condition of supervision and that the areas to be searched contain evidence of this violation. Any search must be
conducted at a reasonable time and in a reasonable manner.

Computer Search - You must submit your computers (as defined in 18 USC § 1030(e)(1)) or other electronic
communications or data storage devices or media, to a search. You must warn any other people who use these computers
or devices capable of accessing the Internet that the devices may be subject to searches pursuant to this condition. A
probation officer may conduct a search pursuant to this condition only when reasonabie suspicion exists that there is a
violation of a condition of supervision and that the computer or device contains evidence of this violation. Any search will
be conducted at a reasonable time and in a reasonable manner.

Computer Monitoring - You must allow the probation officer to install computer monitoring software on any computer (as
defined in 18 USC § 1030(e)(1)) you use.
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AO 245B (Rev 11/16) Judgment im a Criminal Case
Sheet 5 -- Criminal Monetary Penalties

Judgment— Page 6 of 7
DEFENDANT: BRIAN DENNIS HESS
CASE NUMBER: 17-cr-002 (KBJ)
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 

Assessment JVTA Assessment* Fine Restitution
TOTALS $ 100.00 $ $ $
[.] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination
L] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss** Restitution Ordered Priority or Percentage
TOTALS $ __ 0,00 $ 0.00

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delmquency and default, pursuant to 18 U.S C. § 3612(g).

[J The court determined that the defendant does not have the ability to pay interest and it 1s ordered that:
(2 the interest requirement 1s waived forthe (J fine [] restitution.

(1 the mterest requirement for the f] fine C1 restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub, L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, L10A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996,
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
Sheet 6 - Schedule of Payments

Judgment — Page 7 of 7
DEFENDANT: BRIAN DENNIS HESS
CASE NUMBER: 17-cr-002 (KBJ)

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A 4 Lump sum payment of $ 100,00 — _.. due immediately, balance due

[] _ not later than , or

MV inaccordance with [1] C,  D, oOo E, or MF below; or

 

 

 

 

B [1] Payment to begin immediately (may be combined with CIc, [1 D,or [1 F below); or
C  () Paymentinequal == ——_—_s(eg.,, weekly, monthly, quarterly) installments of $ over a period of
____ (@.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D (J Paymentinequal == ——_—__s e.g, weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E  [) _ Payment during the term of supervised release will commence within ____ __ (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time: or

F WW Special instructions regarding the payment of criminal monetary penalties:

The special assessment is immediately payable to the Clerk of the Court for the U.S. District Court, District of
Columbia. Within 30 days of any change of address, you shall notify the Clerk of the Court of the change until such
time as the financial obligation is paid in full, The Court waives any interest or penalties that may accrue on the
unpaid balance.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

(] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payce, 1f appropriate.

(1 The defendant shall pay the cost of prosecution.
[] The defendant shall pay the following court cost(s):

W| The defendant shall forfeit the defendants interest in the following property to the United States:
Defendant shall forfeit a Kyocera black cell phone.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
